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                             UNITED STATES OF AMERICA
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA

V.                                                  CRIMINAL NO. 4:07cr12TSL-LRA

JERMAINE MCLAUGHLIN


                                           ORDER


       THIS CAUSE having come on for consideration on the motion of the Government, to

amend the indictment to change the name of the Defendant to “Jeimane McLaughlin” from

“Jermaine McLaughlin”.

       ORDERED AND ADJUDGED that Government’s request to amend the indictment to

change the name of the defendant, be and is hereby granted.



              SO ORDERED this the 4th day of October, 2007.



                                            /s/Tom S. Lee
                                            UNITED STATES DISTRICT JUDGE
